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                                                      April 4, 2025
Via ECF
Honorable Michael E. Farbiarz
United States District Judge
U.S. Post Office & Courthouse
Federal Square
Newark, New Jersey 07101
       Re:     Khalil v. Trump, et al., No. 2:25-cv-1963 (MEF) (MAH)
Dear Judge Farbiarz,
        In light of the Court’s Opinion and Order of April 4, 2025 (ECF 170), certifying its April 1
Opinion and Order (ECF 153) for appeal under 28 U.S.C. 1292(b), and noting that “the Court
would not expect to stay the proceedings here,” Petitioner’s counsel respectfully write to indicate
our readiness to present argument at the earliest opportunity on Petitioner’s pending motion for
release (ECF 93) and/or his motion to compel his return to this District (ECF 11, 73, 96), both fully
briefed, should the Court wish to hear argument. Petitioner Mahmoud Khalil now nears a full
month in detention and, as the Court is aware, his U.S. citizen spouse expects to give birth to their
first child imminently. Undersigned counsel and Petitioner remain grateful for the attention and
expedition with which the Court has treated this matter.
                                                      Respectfully submitted,
                                                      ____/s/_________________________
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